Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 1 of 25




                         EXHIBIT B
      DECLARATION OF ERIC ROSSETTER, Ph.D, P.E.
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 2 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 3 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 4 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 5 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 6 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 7 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 8 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 9 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 10 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 11 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 12 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 13 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 14 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 15 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 16 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 17 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 18 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 19 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 20 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 21 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 22 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 23 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 24 of 25
Case 3:17-cv-07190-JCS Document 161-15 Filed 06/04/21 Page 25 of 25
